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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

LUCASYS INC.,                                   Civil Action No.: 1:20-cv-02987-AT

    Plaintiff,                                  Judge Amy Totenberg

                       v.                       JURY TRIAL DEMANDED

POWERPLAN, INC.,

    Defendant.


                     ANSWER TO SECOND AMENDED COMPLAINT

       Defendant PowerPlan, Inc. (“PowerPlan”) hereby answers Plaintiff Lucasys

Inc.’s (“Lucasys”) Second Amended Complaint (“SAC,” Doc. 150). Except as

expressly admitted below, PowerPlan denies all allegations contained in the SAC,

and denies that Lucasys is entitled to any form of relief. PowerPlan’s Answer to the

numbered paragraphs of Lucasys’ SAC are set forth below1:

       1.        PowerPlan admits the allegations in paragraph 1 of the SAC.

       2.        PowerPlan denies the allegations in paragraph 2 of the SAC.

       3.        PowerPlan admits only that personal jurisdiction over PowerPlan in

Georgia is proper and that service via Corporation Service Company was proper.


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       Lucasys’ SAC includes more than two pages of improper and argumentative
narrative and mischaracterizations in a section entitled “Nature of the Action”
appearing before its “Substantive Allegations.” To the extent that any response is
required here to this improper narrative, PowerPlan denies the allegations and
characterizations contained there.

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PowerPlan denies it committed any tortious acts in Georgia, and denies all remaining

allegations in paragraph 3 of the SAC.

      4.      PowerPlan admits the allegations in paragraph 4 of the SAC.

      5.      PowerPlan admits that Lucasys’ principal place of business is located

in Cumming, Georgia. PowerPlan also admits that Lucasys represents itself as a tax

consulting and software development company.               PowerPlan lacks first-hand

knowledge of the remaining allegations in paragraph 5 of the SAC, accordingly they

are denied.

      6.      PowerPlan admits only that: (i) it is a supplier of Tax Depreciation and

Deferred Tax Software for investor-owned rate-regulated utilities and other

customers, (ii) that its principal place of business is in Atlanta, Georgia, and (iii) that

it is owned by Roper Technologies, a publicly traded company. PowerPlan denies

the remaining allegations in paragraph 6 of the SAC.

      7.      PowerPlan admits only that certain investor-owned, rate-regulated

utilities use software to address various operational, accounting, regulatory, and tax

issues. PowerPlan denies the remaining allegations in paragraph 7 of the SAC.

      8.      PowerPlan admits only that the allegations in paragraph 8 of the SAC

describe certain, but not all, products offered by PowerPlan. PowerPlan denies the

remaining allegations in paragraph 8 of the SAC.




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      9.      PowerPlan admits that PowerTax, Provision, and Tax Repairs are part

of its Income Tax Suite. PowerPlan admits that its income tax related modules allow

its customers to compute tax depreciation and deferred income taxes. PowerPlan

denies the remaining allegations in paragraph 9 of the SAC.

      10.     PowerPlan admits the allegations in paragraph 10 of the SAC.

      11.     PowerPlan admits that some of its software was available in the market

in 1994 and thereafter. PowerPlan denies the remaining allegations in paragraph 11

of the SAC.

      12.     PowerPlan denies the allegations in paragraph 12 of the SAC.

      13.     PowerPlan denies the allegations in paragraph 13 of the SAC.

      14.     PowerPlan denies the allegations in paragraph 14 of the SAC.

      15.     PowerPlan admits only that customers wishing to perform functions

that are outside of the capability of PowerPlan’s software can use alternative service

providers. PowerPlan denies the remaining allegations in paragraph 15 of the SAC.

      16.     PowerPlan denies the allegations in paragraph 16 of the SAC.

      17.     PowerPlan admits that there are numerous providers of services and

custom code like those described, and that numerous utilities use competitive

bidding to select consultants, and that different customers have different factors they

use to evaluate consultants.      PowerPlan denies the remaining allegations in

paragraph 17 of the SAC.



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      18.   PowerPlan admits only that it earns revenue from consulting services

to some customers that have licensed PowerPlan’s products. PowerPlan denies the

remaining allegations in paragraph 18 of the SAC.

      19.   PowerPlan denies the allegations in paragraph 19 of the SAC.

      20.   PowerPlan admits only that paragraph 20 of the SAC generally

describes parts of the rate case process used in some states. PowerPlan denies the

remaining allegations in paragraph 20 of the SAC.

      21.   PowerPlan admits only that paragraph 21 of the SAC describes

generally part of The Tax Cuts and Jobs Act of 2017. PowerPlan denies the

remaining allegations in paragraph 21 of the SAC.

      22.   PowerPlan admits only that paragraph 22 of the SAC describes

generally some of the actions in some jurisdictions. PowerPlan denies the remaining

allegations in paragraph 22 of the SAC.

      23.   PowerPlan denies the allegations in paragraph 23 of the SAC.

      24.   PowerPlan admits only that certain of its clients have requested

assistance with calculations associated with various tax law changes. PowerPlan

denies the remaining allegations in paragraph 24 of the SAC.

      25.   PowerPlan admits only that Lucasys and numerous others provide

various tax related consulting. PowerPlan denies the remaining allegations in

paragraph 25 of the SAC.



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      26.   PowerPlan admits that it competes with other providers of services

concerning deferred taxes. PowerPlan denies all remaining allegations in paragraph

26 of the SAC.

      27.   PowerPlan admits that Vadim Lantukh, Daniel Chang, and Stephen

Strang are former PowerPlan employees whose employment with PowerPlan ended

in 2013 (Lantukh), 2014 (Chang), and 2015 (Strang). PowerPlan also admits that

each held employment somewhere other than PowerPlan prior to joining Lucasys.

PowerPlan denies the remaining allegations in paragraph 27 of the SAC.

      28.   PowerPlan denies the allegations in paragraph 28 of the SAC.

      29.   PowerPlan admits that Lucasys provides consulting services to its

customers. PowerPlan denies the remaining allegations in paragraph 29 of the SAC.

      30.   PowerPlan admits only that Lucasys has represented that is has

developed three technological solutions.       PowerPlan denies the remaining

allegations in paragraph 30 of the SAC and its subparts.

      31.   PowerPlan denies the allegations in paragraph 31 of the SAC.

      32.   PowerPlan lacks information sufficient to form a belief as to the truth

of the allegations in paragraph 32 of the SAC, accordingly they are denied.

      33.   PowerPlan denies the allegations in paragraph 33 of the SAC.

      34.   PowerPlan denies the allegations in paragraph 34 of the SAC.




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      35.   PowerPlan admits that it learned that Lucasys responded to a request

for proposal issued by AEP.      PowerPlan denies the remaining allegations in

paragraph 35 of the SAC.

      36.   PowerPlan admits that both PowerPlan and Lucasys submitted bids for

at least a portion of the work requested by AEP. PowerPlan also admits that it has

had communications with AEP regarding PowerPlan’s confidential information and

the confidentiality obligations under its existing license agreement with PowerPlan.

PowerPlan denies the remaining allegations in paragraph 36 of the SAC.

      37.   PowerPlan denies the allegations in paragraph 37 of the SAC.

      38.   PowerPlan admits only that it sent correspondence to Messrs. Lantukh,

Chang and Strang on or about October 30, 2019, which speaks for itself. PowerPlan

denies the remaining allegations in paragraph 38 of the SAC.

      39.   PowerPlan admits only that it sent correspondence to Messrs. Lantukh,

Chang and Strang on or about October 30, 2019, which speaks for itself. PowerPlan

denies the remaining allegations in paragraph 39 of the SAC.

      40.   PowerPlan denies the allegations in paragraph 40 of the SAC.

      41.   PowerPlan admits only that it sent correspondence to Messrs. Lantukh,

Chang and Strang on or about October 30, 2019, which speaks for itself. PowerPlan

denies the remaining allegations in paragraph 41 of the SAC.

      42.   PowerPlan denies the allegations in paragraph 42 of the SAC.



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      43.    PowerPlan admits only that Lucasys did not have a software product

that could be fully substituted for PowerPlan’s software. PowerPlan denies the

remaining allegations in paragraph 43 of the SAC.

      44.    PowerPlan denies the allegations in paragraph 44 of the SAC.

      45.    PowerPlan admits only that Lucasys provided certain limited

information to certain PowerPlan representatives under strict confidentiality and

non-disclosure obligations. PowerPlan lacks information sufficient to form a belief

as to the truth of the remaining allegations in paragraph 45 of the SAC, accordingly

there are denied.

      46.    PowerPlan denies the allegations in paragraph 46 of the SAC.

      47.    PowerPlan admits that NextEra maintained certain information

concerning its non-regulated entities outside the PowerPlan system and that NextEra

engaged Lucasys for tax fixed-asset related services.         PowerPlan denies the

remaining allegations in paragraph 47 of the SAC.

      48.    PowerPlan denies the allegations in paragraph 48 of the SAC.

      49.    PowerPlan admits that Lucasys had begun the design phase at the time

of the termination and that PowerPlan performed certain services for NextEra at

various times and at the request of NextEra. PowerPlan is without information

sufficient to form a belief as to the remaining allegations in paragraph 49 of the SAC,

accordingly they are denied.



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      50.     PowerPlan admits only that Lucasys proposed to provide certain

services to Liberty Utilities and that Lucasys recommended Liberty Utilities

implement PowerPlan’s income tax suite.           PowerPlan denies the remaining

allegations in paragraph 50 of the SAC.

      51.     PowerPlan denies the allegations in paragraph 51 of the SAC.

      52.     PowerPlan denies the allegations in paragraph 52 of the SAC.

      53.     PowerPlan admits that in 2019, AEP issued a request for proposals.

PowerPlan also admits that both PowerPlan and Lucasys submitted bids for at least

a portion of the work requested by AEP. PowerPlan denies the remaining allegations

in paragraph 53 of the SAC.

      54.     PowerPlan admits that it sent certain correspondence to its client AEP,

which speaks for itself. PowerPlan denies the remaining allegations in paragraph 54

of the SAC.

      55.     PowerPlan denies the allegations in paragraph 55 of the SAC.

      56.     PowerPlan denies the allegations in paragraph 56 of the SAC.

      57.     PowerPlan admits only that it has properly asserted its legitimate rights

under its software license agreements with its customers. PowerPlan denies the

remaining allegations in paragraph 57 of the SAC.

      58.     PowerPlan denies the allegations in paragraph 58 of the SAC.

      59.     PowerPlan denies the allegations in paragraph 59 of the SAC.



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      60.     PowerPlan denies the allegations in paragraph 60 of the SAC.

      61.     PowerPlan denies the allegations in paragraph 61 of the SAC.

      62.     PowerPlan denies the allegations in paragraph 62 of the SAC.

      63.     PowerPlan admits only that it communicated concerns about the risk of

Lucasys potentially misappropriating PowerPlan’s trade secrets to dozens of

PowerPlan customers. PowerPlan denies the remaining allegations in paragraph 63

of the SAC.

      64.     PowerPlan denies the allegations in paragraph 64 of the SAC.

      65.     PowerPlan denies the allegations in paragraph 65 of the SAC.

      66.     Paragraph 66 of the SAC contains legal conclusions for which no

response is required. To the extent a response is required, PowerPlan denies the

allegations in paragraph 66 of the SAC.

      67.     PowerPlan denies the allegations in paragraph 67 of the SAC.

      68.     PowerPlan denies the allegations in paragraph 68 of the SAC.

      69.     PowerPlan admits that it permitted consultants other than Lucasys to

access PowerPlan software and client databases. PowerPlan denies the remaining

allegations in paragraph 69 of the SAC.

      70.     PowerPlan denies the allegations in paragraph 70 of the SAC.

      71.     PowerPlan denies the allegations in paragraph 71 of the SAC.




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       72.   PowerPlan is without information sufficient to form a belief as to the

truth of the allegations in paragraph 72 of the SAC, accordingly they are denied.

       73.   PowerPlan admits only that a declaration from Mr. Persinger has been

filed in this case. PowerPlan denies the remaining allegations in paragraph 73 of the

SAC.

       74.   PowerPlan admits only that the Persinger declaration attaches

thousands of pages of information Lucasys claims was publicly available from the

PowerPlan website, third-party smart-phone app, YouTube channel, and third-party

code repositories. PowerPlan denies the remaining allegations in paragraph 74 of

the SAC.

       75.   PowerPlan admits only that some filings by power companies with

public utilities commissions are public. PowerPlan denies the remaining allegations

in paragraph 75 of the SAC.

       76.   Paragraph 76 of the SAC contains legal conclusions for which no

response is required. To the extent a response is required, PowerPlan denies the

allegations in paragraph 76 of the SAC.

       77.   PowerPlan admits the allegations in paragraph 77 of the SAC.

       78.   PowerPlan denies the allegations in paragraph 78 of the SAC.

       79.   PowerPlan denies the allegations in paragraph 79 of the SAC.

       80.   PowerPlan denies the allegations in paragraph 80 of the SAC.



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      81.   Paragraph 81 of the SAC contains legal conclusions for which no

response is required. To the extent a response is required, PowerPlan denies the

allegations in paragraph 81 of the SAC.

      82.   PowerPlan admits the allegations in paragraph 82 of the SAC.

      83.   PowerPlan admits the allegations in paragraph 83 of the SAC.

      84.   PowerPlan admits the allegations in paragraph 84 of the SAC.

      85.   PowerPlan admits the allegations in paragraph 85 of the SAC.

      86.   PowerPlan admits the allegations in paragraph 86 of the SAC.

      87.   PowerPlan denies the allegations in paragraph 87 of the SAC.

      88.   PowerPlan lacks information sufficient to form a belief as to the truth

of the allegations in paragraph 88 of the SAC, accordingly they are denied.

      89.   PowerPlan admits only that it has entered into Authorized Vendor

Agreements with consulting firms. PowerPlan denies the remaining allegations in

paragraph 89 of the SAC.

      90.   PowerPlan admits the allegations in paragraph 90 of the SAC.

      91.   PowerPlan admits the allegations in paragraph 91 of the SAC.

      92.   PowerPlan denies the allegations in paragraph 92 of the SAC.

      93.   PowerPlan denies the allegations in paragraph 93 of the SAC.




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      94.    PowerPlan admits only that it has entered into Authorized Vendor

Agreements with consulting firms. PowerPlan denies the remaining allegations in

paragraph 94 of the SAC.

      95.    Paragraph 95 of the SAC characterizes in an incomplete way the

contents of a written document that speaks for itself and contains legal conclusions

for which no response is required. To the extent a response is required, PowerPlan

denies the allegations in paragraph 95 of the SAC to the extent they are inconsistent

with the document.

      96.    Paragraph 96 of the SAC characterizes in an incomplete way the

contents of a written document that speaks for itself. To the extent a response is

required, PowerPlan denies the allegations in paragraph 96 of the SAC to the extent

they are inconsistent with the document.

      97.    Paragraph 97 of the SAC characterizes in an incomplete way the

contents of a written document that speaks for itself and contains legal conclusions

for which no response is required. To the extent a response is required, PowerPlan

denies the allegations in paragraph 97 of the SAC to the extent they are inconsistent

with the document.

      98.    PowerPlan admits that Lucasys made a counteroffer and that

PowerPlan declined Lucasys’ counteroffer.        PowerPlan denies the remaining

allegations in paragraph 98 of the SAC.



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       99.   PowerPlan denies the allegations in paragraph 99 of the SAC.

       100. PowerPlan denies the allegations in paragraph 100 of the SAC.

       101. Paragraph 101 of the SAC contains legal conclusions for which no

response is required. To the extent a response is required, PowerPlan denies the

allegations in paragraph 101 of the SAC.

       102. PowerPlan admits only that Lucasys’ SAC attempts to allege two or

more markets. PowerPlan denies the remaining allegations in paragraph 102 of the

SAC.

       103. PowerPlan admits only that investor-owned rate-regulated utilities

sometimes use software systems and that such systems can facilitate certain

operational, accounting, regulatory, and tax functions.     PowerPlan denies the

remaining allegations in paragraph 103 of the SAC.

       104. PowerPlan admits only that rate-regulated utilities are regulated and

asset intensive. PowerPlan denies the remaining allegations in paragraph 104 of the

SAC.

       105. PowerPlan admits that there are certain investor-owned rate-regulated

utilities that operate without the use of what the SAC calls “IOU Tax Software.”

PowerPlan denies the remaining allegations in paragraph 105 of the SAC.

       106. PowerPlan denies the allegations in paragraph 106 of the SAC.

       107. PowerPlan denies the allegations in paragraph 107 of the SAC.



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      108. PowerPlan is without information sufficient to form a belief as to costs

allegedly associated with switching to a system that Lucasys simultaneously alleges

does not exist. Accordingly, PowerPlan denies the allegations in paragraph 108 of

the SAC.

      109. PowerPlan denies the allegations in paragraph 109 of the SAC.

      110. PowerPlan denies the allegations in paragraph 110 of the SAC.

      111. PowerPlan denies the allegations in paragraph 111 of the SAC.

      112. PowerPlan denies the allegations in paragraph 112 of the SAC.

      113. PowerPlan denies the allegations in paragraph 113 of the SAC.

      114. PowerPlan denies the allegations in paragraph 114 of the SAC.

      115. PowerPlan denies the allegations in paragraph 115 of the SAC.

      116. PowerPlan denies the allegations in paragraph 116 of the SAC.

      117. PowerPlan denies the allegations in paragraph 117 of the SAC.

      118. PowerPlan admits only that numerous firms provide various consulting

services to numerous customers that have deployed PowerPlan’s software and that

there is competition among such providers. PowerPlan lacks information sufficient

to form a belief as to the “capabilities and areas of focus” of these various

competitors, and denies any allegations regarding same. The remaining allegations

in paragraph 118 of the SAC also are denied.

      119. PowerPlan denies the allegations in paragraph 119 of the SAC.



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      120. PowerPlan admits only that utilities are located throughout the United

States and could source software and/or services from vendors within the United

States. PowerPlan denies the remaining allegations in paragraph 120 of the SAC.

      121. PowerPlan denies the allegations in paragraph 121 of the SAC.

      122. PowerPlan denies the allegations in paragraph 122 of the SAC.

      123. PowerPlan denies the allegations in paragraph 123 of the SAC.

      124. PowerPlan denies the allegations in paragraph 124 of the SAC.

      125. PowerPlan denies the allegations in paragraph 125 of the SAC.

      126. PowerPlan denies the allegations in paragraph 126 of the SAC.



      127. PowerPlan admits that Lucasys offers and distributes its products and

services throughout the United States. PowerPlan denies it engaged in any improper

anticompetitive conduct or that any alleged anticompetitive conduct affected

interstate commerce. PowerPlan also denies that it has revenues in excess of $150

million annually. PowerPlan denies the remaining allegations in paragraph 127 of

the SAC.

      128. PowerPlan admits that AEP operates in multiple states. PowerPlan

denies the remaining allegations in paragraph 128 of the SAC.

      129. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.



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      130. PowerPlan denies the allegations in paragraph 130 of the SAC.

      131. PowerPlan admits only that development of a full suite software

product of the scope of PowerPlan’s software offering requires significant

technological ability and any effort to organically develop such a software offering

without access to PowerPlan’s trade secrets would require a major capital investment

and substantial time. PowerPlan denies the remaining allegations in paragraph 131

of the SAC.

      132. PowerPlan denies the allegations in paragraph 132 of the SAC.

      133. PowerPlan admits only that there is existing choice available from

different suppliers. PowerPlan denies the remaining allegations in paragraph 133 of

the SAC.

      134. PowerPlan denies the allegations in paragraph 134 of the SAC.

      135. PowerPlan denies the allegations in paragraph 135 of the SAC.

      136. PowerPlan denies the allegations in paragraph 136 of the SAC.

      137. PowerPlan denies the allegations in paragraph 137 of the SAC.

      138. PowerPlan denies the allegations in paragraph 138 of the SAC.

      139. PowerPlan denies the allegations in paragraph 139 of the SAC.

      140. PowerPlan denies the allegations in paragraph 140 of the SAC.

      141. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.



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      142. PowerPlan denies the allegations in paragraph 142 of the SAC.

      143. PowerPlan admits only that development of a full suite software

product of the scope of PowerPlan’s software offering requires significant

technological ability and any effort to organically develop such a software offering

without access to PowerPlan’s trade secrets would require a major capital investment

and substantial time. PowerPlan denies the remaining allegations in paragraph 143

of the SAC.

      144. PowerPlan denies the allegations in paragraph 144 of the SAC.

      145. PowerPlan denies the allegations in paragraph 145 of the SAC.

      146. PowerPlan denies the allegations in paragraph 146 of the SAC.

      147. PowerPlan denies the allegations in paragraph 147 of the SAC.

      148. PowerPlan denies the allegations in paragraph 148 of the SAC.

      149. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.

      150. PowerPlan admits only that there is existing choice available from

different suppliers. PowerPlan denies the remaining allegations in paragraph 150 of

the SAC.

      151. PowerPlan denies the allegations in paragraph 151 of the SAC.

      152. PowerPlan denies the allegations in paragraph 152 of the SAC.

      153. PowerPlan denies the allegations in paragraph 153 of the SAC.



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      154. PowerPlan denies the allegations in paragraph 154 of the SAC.

      155. PowerPlan denies the allegations in paragraph 155 of the SAC.

      156. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.

      157. PowerPlan denies the allegations in paragraph 157 of the SAC.

      158. PowerPlan denies the allegations in paragraph 158 of the SAC.

      159. PowerPlan denies the allegations in paragraph 159 of the SAC.

      160. PowerPlan denies the allegations in paragraph 160 of the SAC.

      161. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.

      162. PowerPlan denies the allegations in paragraph 162 of the SAC.

      163. PowerPlan denies the allegations in paragraph 163 of the SAC.

      164. PowerPlan denies the allegations in paragraph 164 of the SAC.

      165. PowerPlan denies the allegations in paragraph 165 of the SAC.

      166. PowerPlan denies the allegations in paragraph 166 of the SAC.

      167. PowerPlan denies the allegations in paragraph 167 of the SAC

      168. PowerPlan denies the allegations in paragraph 168 of the SAC.

      169. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.

      170. PowerPlan denies the allegations in paragraph 170 of the SAC.



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      171. PowerPlan denies the allegations in paragraph 171 of the SAC.

      172. PowerPlan denies the allegations in paragraph 172 of the SAC.

      173. PowerPlan denies the allegations in paragraph 173 of the SAC.

      174. PowerPlan denies the allegations in paragraph 174 of the SAC.

      175. PowerPlan denies the allegations in paragraph 175 of the SAC.

      176. PowerPlan denies the allegations in paragraph 176 of the SAC.

      177. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.

      178. PowerPlan denies the allegations in paragraph 178 of the SAC.

      179. PowerPlan denies the allegations in paragraph 179 of the SAC.

      180. PowerPlan denies the allegations in paragraph 180 of the SAC.

      181. PowerPlan denies the allegations in paragraph 181 of the SAC.

      182. PowerPlan denies the allegations in paragraph 182 of the SAC.

      183. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.

      184. PowerPlan denies the allegations in paragraph 184 of the SAC.

      185. PowerPlan denies the allegations in paragraph 185 of the SAC.

      186. PowerPlan denies the allegations in paragraph 186 of the SAC.

      187. PowerPlan denies the allegations in paragraph 187 of the SAC.




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      188. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.

      189. PowerPlan denies the allegations in paragraph 189 of the SAC.

      190. PowerPlan denies the allegations in paragraph 190 of the SAC.

      191. PowerPlan denies the allegations in paragraph 191 of the SAC.

      192. PowerPlan denies the allegations in paragraph 192 of the SAC.

      193. PowerPlan denies the allegations in paragraph 193 of the SAC.

      194. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.

      195. PowerPlan denies the allegations in paragraph 195 of the SAC.

      196. PowerPlan denies the allegations in paragraph 196 of the SAC.

      197. PowerPlan denies the allegations in paragraph 197 of the SAC.

      198. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.

      199. PowerPlan denies the allegations in paragraph 199 of the SAC.

      200. PowerPlan admits only that development of a full suite software

product of the scope of PowerPlan’s software offering requires significant

technological ability and any effort to organically develop such a software offering

without access to PowerPlan’s trade secrets would require a major capital investment




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and substantial time. PowerPlan denies the remaining allegations in paragraph 200

of the SAC.

      201. PowerPlan denies the allegations in paragraph 201 of the SAC.

      202. PowerPlan denies the allegations in paragraph 202 of the SAC.

      203. PowerPlan denies the allegations in paragraph 203 of the SAC.

      204. PowerPlan denies the allegations in paragraph 204 of the SAC.

      205. PowerPlan denies the allegations in paragraph 205 of the SAC.

      206. PowerPlan denies the allegations in paragraph 206 of the SAC.

      207. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.

      208. PowerPlan denies the allegations in paragraph 208 of the SAC.

      209. PowerPlan admits only that development of a full suite software

product of the scope of PowerPlan’s software offering requires significant

technological ability and any effort to organically develop such a software offering

without access to PowerPlan’s trade secrets would require a major capital investment

and substantial time. PowerPlan denies the remaining allegations in paragraph 209

of the SAC.

      210. PowerPlan denies the allegations in paragraph 210 of the SAC.

      211. PowerPlan denies the allegations in paragraph 211 of the SAC.

      212. PowerPlan denies the allegations in paragraph 212 of the SAC.



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      213. PowerPlan denies the allegations in paragraph 213 of the SAC.

      214. PowerPlan denies the allegations in paragraph 214 of the SAC.

      215. PowerPlan denies the allegations in paragraph 215 of the SAC.

      216. PowerPlan incorporates by reference the preceding responses to

Lucasys’ allegations.

      217. PowerPlan denies the allegations in paragraph 217 of the SAC.

      218. PowerPlan denies the allegations in paragraph 218 of the SAC.

      219. PowerPlan denies the allegations in paragraph 219 of the SAC.

      220. PowerPlan denies that allegations in paragraph 220 of the SAC.


      To the extent PowerPlan has not responded above to any allegations of the

SAC, including the prayer for relief, PowerPlan hereby denies any such allegations.

                    POWERPLAN’S ADDITIONAL DEFENSES

      Pursuant to Federal Rule of Civil Procedure 8(c), PowerPlan asserts the

following additional defenses. PowerPlan reserves the right to assert additional

defenses and/or counterclaims as more information is discovered. PowerPlan does

not assume the burden of proof for any defense asserted below, except to the extent

the burden of proof already lies with PowerPlan as a matter of law.

                        FIRST ADDITIONAL DEFENSE

      1.    Lucasys lacks standing to bring claims for antitrust violations because,

among other reasons, there is no causal connection between the conduct attributed


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to PowerPlan and Lucasys’ alleged injuries, and Lucasys has not suffered an antitrust

injury.

                        SECOND ADDITIONAL DEFENSE

      2.       The SAC and every claim for relief asserted therein fails to state a claim

upon which relief can be granted against PowerPlan.

                         THIRD ADDITIONAL DEFENSE

      3.       Lucasys’ claims are barred, in whole or in part, because there has been

no injury to competition as a result of the conduct attributed to PowerPlan.

                        FOURTH ADDITIONAL DEFENSE

      4.       Lucasys’ claims are barred, in whole or in part, because Lucasys has

failed to define an appropriate relevant product market and/or geographic market

under the antitrust laws.

                          FIFTH ADDITIONAL DEFENSE

      5.       PowerPlan’s business practices were lawful, pro-competitive, increased

efficiencies, and benefitted customers.

                          SIXTH ADDITIONAL DEFENSE

      6.       Lucasys’ claims may be barred, in whole or in part, by the applicable

statute of limitations and/or statute of repose.

                       SEVENTH ADDITIONAL DEFENSE

      7.       Lucasys’ claims may be barred, in whole or in part, by the doctrines of

laches, waiver and/or estoppel.


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                        EIGHTH ADDITIONAL DEFENSE

      8.       Lucasys’ claims may be barred, in whole or in part, by the doctrines of

in pari delicto and/or unclean hands.

                         NINTH ADDITIONAL DEFENSE

      9.       Lucasys’ claims are barred, in whole or in part, because Lucasys failed

to reasonably mitigate its alleged damages.

                         TENTH ADDITIONAL DEFENSE

      10.      Lucasys’ claim for equitable relief is barred because Lucasys has

adequate remedies at law and/or equitable relief is neither necessary or proper.

                      ELEVENTH ADDITIONAL DEFENSE

      11.      Lucasys’ Seventh and Eighth Causes of Action are barred because

PowerPlan was not a stranger to the business relationships between Lucasys and its

customers.

                       TWELFTH ADDITIONAL DEFENSE

      12.      Lucasys’ Ninth and Tenth Causes of Action are barred because Lucasys

fails to identify any defamatory statement made by PowerPlan with the requisite

specificity.

                     THIRTEENTH ADDITIONAL DEFENSE

      13.      Lucasys’ Ninth and Tenth Causes of Action are barred, in whole or in

part, because all purported statements made by PowerPlan regarding Lucasys, if any,

are privileged under O.C.G.A. § 51-5-7(2) and (3).


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                     FOURTEENTH ADDITIONAL DEFENSE

      14.    Lucasys’ Ninth and Tenth Causes of Action are barred, in whole or in

part, because all purported fact statements made by PowerPlan regarding Lucasys,

if any, were true.

                     FIFTEENTH ADDITIONAL DEFENSE

      15.    Lucasys’ Eleventh and Twelfth Causes of Action are barred by the

immunity provided by the Noerr-Pennington doctrine and the protections of the First

Amendment to the Constitution of the United States.

                           ADDITIONAL DEFENSES

      By designating the aforementioned defenses, PowerPlan does not in any way

waive or limit any defenses which are or may be raised by their denials, allegations,

and averments. These defenses also are without prejudice to PowerPlan’s ability to

raise other and further defenses. PowerPlan expressly reserves all rights to re-

evaluate its defenses and/or assert additional defenses upon any amendment of the

underlying claims, and/or upon discovery and review of additional documents and

information, and upon the development of other pertinent facts.




PowerPlan demands a trial by jury of every issue triable of right by a jury.


Submitted this 27th day of April, 2023.




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                           Respectfully submitted,

                            /s/ Damond R. Mace
                            Damond R. Mace (admitted pro hac vice)
                            damond.mace@squirepb.com
                            Stephen M. Fazio (admitted pro hac vice)
                            stephen.fazio@squirepb.com
                            Steven A. Friedman (admitted pro hac vice)
                            steven.friedman@squirepb.com
                            Janine C. Little (admitted pro hac vice)
                            janine.little@squirepb.com
                            SQUIRE PATTON BOGGS (US) LLP
                            1000 Key Tower, 127 Public Square
                            Cleveland, Ohio 44114
                            Telephone: (216) 479-8500

                            Petrina A. McDaniel
                            Georgia Bar No. 141301
                            petrina.mcdaniel@squirepb.com
                            SQUIRE PATTON BOGGS (US) LLP
                            1230 Peachtree Street NE, Suite 1700
                            Atlanta, Georgia 30309
                            Telephone: (678) 272-3200

                            Attorneys for Defendant PowerPlan, Inc.




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                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Answer to a Complaint was served on April

27, 2023 by filing it using the Court’s CM/ECF system, which will send electronic

notification of such filing to all counsel of record.



                                            /s/ Damond R. Mace
                                            Damond R. Mace

                                            Attorney for Defendant PowerPlan, Inc.




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